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                      IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                   Charlotte Division

In re:                                                 CASE NO. 17-30132

TSI Holdings, LLC1 et al.,                             CHAPTER 7
                                                       Jointly Administered
                         DEBTORS.

     TRUSTEE’S MOTION FOR ORDER (I) APPROVING BIDDING AND AUCTION
      PROCEDURES IN CONNECTION WITH THE SALE OF THE INTEREST OF
       SHARON ROAD PROPERTIES, LLC IN BISSELL PORTER SISKEY, LLC,
       (II) APPROVING AGREEMENT WITH STALKING HORSE BIDDER, AND
            (III) SCHEDULING AUCTION AND SALE APPROVAL HEARING

         Joseph W. Grier, III, the duly-appointed chapter 7 trustee (“Trustee”) for Sharon Road

Properties, LLC (“SRP”), through counsel, hereby files this Trustee’s Motion for Order

(I) Approving Bidding and Auction Procedures in Connection with the Sale of the Interest of

Sharon Road Properties, LLC in Bissell Porter Siskey, LLC, (II) Approving Agreement with

Stalking Horse Bidder, and (III) Scheduling Auction and Sale Approval Hearing (this “Motion”)

and respectfully shows the Court the following in support:

               I.       JURISDICTION AND PROCEDURAL BACKGROUND

                                 A.       PROCEDURAL BACKGROUND

         1.     On January 27, 2017, an involuntary bankruptcy petition pursuant to chapter 7 of

the United States Bankruptcy Code, 11 U.S.C. §§ 101 et seq. (the “Code”), was filed against TSI

Holdings, LLC (“TSI”), initiating the above-captioned lead case.

         2.     The Court entered an Order appointing the Trustee on February 8, 2017 and an

Order for Relief as to TSI on February 22, 2017.



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         These jointly administered cases are those of the following debtors: TSI Holdings, LLC, Case No. 17-
30132, WSC Holdings, LLC Case No. 17-30338, SouthPark Partners, LLC Case No. 17-30339 and Sharon Road
Properties, LLC Case No. 17-30363.
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       3.      Evidence presented to the Court in the motion to appoint an interim trustee for

TSI, including an affidavit of FBI Special Agent Timothy Darin Stutheit, indicated that Rick

Siskey (“Siskey”), prior to his death on December 28, 2016, operated TSI as part of a Ponzi

scheme (the “Ponzi Scheme”).

       4.      Based in part on the concern that other entities operated by Siskey were part of

the Ponzi Scheme, involuntary petitions and emergency motions to appoint an interim trustee

were filed against other Siskey-related entities, including SRP (collectively with TSI, the

“Debtors”).

                                        B.     JURISDICTION

       5.      The Court has jurisdiction over this Motion pursuant to 28 U.S.C. § 1334. This is

a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A), (M), and (O). Venue properly lies in

this judicial district pursuant to 28 U.S.C. § 1409(a). The statutory predicate for the relief

requested herein is § 363 of the Code.

                             II.        FACTUAL BACKGROUND

                                   A.        THE PONZI SCHEME

       6.      Based on the Debtors’ records, and other evidence, the Trustee and his

professionals are of the opinion that the Debtors—with the exception of SRP—were each

operated as part of the Ponzi Scheme.

       7.      Conversely, SRP owns a 32.55% interest (the “BPS Interest”) in Bissell Porter

Siskey, LLC (“BPS”), which in turn owns a commercial building located at 4521 Sharon Road,

Charlotte, North Carolina (the “Office Building”).

       8.      BPS and its agents—not Siskey or anyone supervised by Siskey—managed all of

the operations and finances of the Office Building, including the routine submission of accurate




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reports to SRP and the transfer to SRP of SRP’s share of Office Building profits, after deducting

SRP’s legitimate share of expenditures and capital improvements.

       9.      The books and records of SRP reflect membership interests held by investors in

SRP which total 100%. The financial records of SRP were maintained separately from those of

the other Debtors. SRP’s members (“Members”) received rental income from the SRP bank

account traceable directly to the Office Building rents. Schedule K-1 tax forms were prepared

and distributed to the Members annually pursuant to their ownership interests.

       10.     Based on the foregoing, the Trustee is treating SRP as a legitimate business

enterprise that existed independently from the Ponzi Scheme.

                           B.     NO OTHER TANGIBLE SRP ASSETS

       11.     Other than the BPS Interest, the Trustee has identified no tangible assets to

administer on behalf of SRP’s bankruptcy estate.

                                 C.         THE OFFICE BUILDING

       12.     BPS’s only tangible asset is the Office Building.

       13.     The Office Building includes an approximately three-acre parcel of land located

across Sharon Road from the South Park Mall in Charlotte, North Carolina.

       14.     The Office Building is a 70,839 square foot multi-tenant office building, which

generates rents sufficient to cover operating and maintenance costs and to make distributions to

BPS’s members on a regular basis.

       15.     The Trustee receives monthly reports from BPS detailing the income and

expenses relating to the Office Building.

       16.     The remaining 67.45% interest in BPS is owned by Bissell Porter Three, LLC

(“BP3”). BP3 agrees that, pursuant to the terms of BPS’s operating agreement (the “Operating




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Agreement”), the Trustee has the full power and authority to transfer SRP’s economic interest in

BPS only, but not any voting rights or any other portion of SRP’s BPS membership interest.

                                  D.      MARKETING EFFORTS

         17.   On November 15, 2017, the Court entered an order approving the employment of

Bailey W. Patrick and his firm, MPV Properties, LLC (“MPV”), to serve as the Trustee’s broker

to find a suitable purchaser for the BPS Interest.

         18.   MPV has actively marketed the BPS Interest since November.

         19.   Although multiple parties have demonstrated interest in the BPS Interest and have

conducted an investigation into the performance of the Office Building, only one formal offer to

purchase has been made as of the date of this Motion.

                                  E.      STALKING HORSE BID

         20.   The Trustee has received a Stalking Horse bid from QuickLiquidity, LLC (the

“Stalking Horse”), a copy of which is attached to this Motion as Exhibit A (the “Stalking Horse

Bid”).

         21.   The Stalking Horse Bid generally provides as follows:

               (a)   the initial purchase price for the BPS Interest shall be $1,600,000.00
                     (the “Initial Bid Price”) with no financing contingencies;

               (b)   the Trustee shall have a marketing period of thirty (30) days
                     following entry of an order approving this Motion (the “Bid
                     Deadline”) to solicit additional offers for the BPS Interest;

               (c)   if a Qualified Bid (defined below) is received on or before the Bid
                     Deadline, then the Trustee shall conduct an auction of the BPS
                     Interest pursuant to the bidding and auction procedures defined
                     below within thirty (30) days of the Bid Deadline;

               (d)   the Trustee shall schedule a time acceptable to the Court within
                     thirty (30) days following the Bid Deadline to conduct (i) any
                     auction of the BPS Interest and (ii) a hearing to confirm the sale
                     pursuant to § 363 of the Code;



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               (e)     if the Stalking Horse is the winning bid at the auction or if no
                       Qualified Bids are received on or before the Bid Deadline, then the
                       Stalking Horse shall close on the purchase of the BPS Interest within
                       ten (10) days of an order confirming the sale becoming a final, non-
                       appealable order.

               (f)     if the Stalking Horse is not the winning bidder at the auction or if the
                       Trustee cancels the sale for no fault of the Stalking Horse, then the
                       Trustee shall pay the Stalking Horse a break-up fee in the amount of
                       $40,000.00 (the “Break-Up Fee”) contemporaneously with the
                       closing or within fourteen (14) days of cancelling the sale.

       22.     The Stalking Horse is neither an “insider” of SRP within the meaning of 11

U.S.C. § 101(31) nor otherwise affiliated or related to SRP.

       23.     The Trustee believes that a fair value of the BPS Interest exceeds the Initial Bid

Price. However, based on the advice of MPV, the Trustee believes that agreeing to the terms of

the Stalking Horse Bid will compel potential purchasers to come forward and will otherwise

generate additional interest in the BPS Interest reasonably likely to facilitate an effective auction

of the BPS Interest.

       24.     In the opinion of the Trustee, the Break-Up Fee is reasonable in amount and

beneficial to the bankruptcy estate. The Stalking Horse Bid promotes more competitive bidding

and establishes a reasonable floor for the auction of the BPS Interest, which thereby substantially

increases the likelihood that the ultimate sale price will reflect the true value of the BPS Interest.

                            F.      BIDDING AND AUCTION PROCEDURES

       25.     In order to obtain the highest and otherwise best bid for the BPS Interest and to

facilitate an orderly and effective auction, the Trustee proposes the following bidding and

auction procedures (the “Bidding and Auction Procedures”).

               (a)     Any person(s) or entity(ies) wishing to participate in the auction of
                       the BPS Interest (the “Auction”) shall deliver, on or before the Bid
                       Deadline, an executed proposed purchase contract to: MPV
                       Properties, LLC, ATTN: Bailey W. Patrick, 2400 South Boulevard,
                       Suite 300, Charlotte, NC 28203, BPatrick@mpvre.com.


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          (b)     The Trustee shall retain complete discretion to determine whether a
                  purchase contract received qualifies to participate in the Auction (a
                  “Qualified Bid”). At a minimum, a Qualified Bid will have the
                  following characteristics, unless otherwise ordered by the Court:

                  (i)    is timely submitted on or before the Bid Deadline;

                 (ii)    proposes a purchase price that exceeds the Initial Bid Price
                         by at least $100,000.00;

                (iii)    identifies the person(s) or entity(ies) submitting the purchase
                         contract (the “Bidder”), including a disclosure of any
                         affiliation or relationship with SRP, Siskey, any insider(s) of
                         SRP, or any creditor(s) of SRP;

                (iv)     provides evidence satisfactory to the Trustee of the Bidder’s
                         financial wherewithal to consummate the proposed
                         transaction (if requested by the Trustee, the Bidder may be
                         required to make a refundable earnest money deposit with the
                         Trustee in order to have a Qualified Bid);

                 (v)     warrants that it is not subject to any additional due
                         diligence, any financing contingency(ies), or any further
                         board or similar corporate approval;

                (vi)     provides that it is irrevocable by the Bidder until the later of
                         (A) consummation of a sale of the BPS Interest to any other
                         bidder and (B) the first business day that is thirty (30) days
                         after the Auction;

                (vii)    commits to closing on the purchase of the BPS Interest
                         within ten (10) days of an order confirming the sale
                         becoming a final, non-appealable order;

            (viii)       agrees that the sale of the BPS Interest is “as-is, where-is”
                         with no warranties express or implied by the Trustee, other
                         than a warranty that the Trustee has done nothing to impair
                         title and will defend title against the lawful claims of all
                         persons claiming by, under, or through the Trustee; and

                (ix)     represents and warrants to the Trustee that the Bidder (A) has
                         relied solely upon the Bidder’s own independent review,
                         investigation, and/or inspection of the BPS Interest in
                         making the bid and (B) did not rely upon any written or oral
                         statements, representations, promises, warranties, or
                         guarantees whatsoever, whether express, implied, by
                         operation of law or otherwise, by the Trustee regarding
                         the BPS Interest.


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          (c)   The Stalking Horse Bid is automatically deemed to be a Qualified
                Bid.

          (d)   All due diligence shall be completed prior to the Bid Deadline, such
                that all bids at the Auction will be free of all contingencies other
                than the Court’s confirmation of the sale free and clear of liens, with
                any liens transferring to the sale proceeds. The Trustee shall provide
                potential bidders with any and all documents requested prior to the
                Bid Deadline that are in the Trustee’s possession or are readily
                available to the Trustee. The Trustee may require a potential bidder
                to execute a confidentiality agreement as a condition to providing
                documents to the potential bidder. The Trustee shall not be
                obligated to furnish access to any information of any kind
                whatsoever regarding the BPS Interest after the Bid Deadline.

          (e)   After a Bidder submits a bid, the Trustee may, in the Trustee’s
                complete discretion, communicate with the Bidder and request any
                additional information deemed necessary to evaluate whether the bid
                should be accepted as a Qualified Bid.

          (f)   The Trustee will send, at least seven (7) days prior to the Auction, a
                written Auction invitation to all Bidders submitting Qualified Bids.

          (g)   If no Qualified Bids other than the Stalking Horse Bid are received,
                then the Trustee shall schedule a hearing with the Court to confirm
                the sale to the Stalking Horse within 30 days of the Bid Deadline.

          (h)   If any additional Qualified Bids are received, then the Trustee (or the
                Court) shall conduct the Auction within thirty (30) days of the Bid
                Deadline in Bankruptcy Courtroom 1-4 in the United States
                Courthouse, 401 West Trade Street, Charlotte, North Carolina.

          (i)   Only Bidders submitting Qualified Bids and the Stalking Horse are
                eligible to participate in the Auction. All Bidders wishing to bid at
                the Auction shall appear at the Auction—either in person or
                telephonically—through a duly authorized representative.

          (j)   Prior to the Auction, the Trustee shall select the Qualified Bid that,
                in the Trustee’s complete discretion, reflects the highest or otherwise
                best value for the BPS Interest as the Auction’s opening bid. The
                Trustee (or the Court) shall then commence the Auction by
                announcing the opening bid. Thereafter, Auction participants may
                submit bids that are higher and better than a prior bid in increments
                of at least $100,000.00 until the Trustee selects a successful bid;
                provided, however, that the Trustee (or the Court) shall retain
                complete discretion to adjust the overbid increments upward or
                downward during the Auction.



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               (k)   Subject to the approval of the Court, the Trustee may adjourn the
                     Auction and/or adopt supplemental Auction rules or procedures in
                     order to facilitate a more effective Auction.

               (l)   The Trustee shall select the successful bid and a back-up bid during
                     the Auction and conclude the Auction by announcing the successful
                     bid and a back-up bid to the Court. At the conclusion of the
                     Auction, the Court will conduct a confirmation hearing to consider
                     whether to approve the sale pursuant to § 363 of the Code.

               (m) If the Court approves a sale of the BPS Interest based on the
                   successful bid, then the maker of the successful bid shall close on the
                   purchase of the BPS Interest within ten (10) days of the order
                   confirming the sale becoming a final, non-appealable order. If the
                   maker of the successful bid fails to consummate the purchase of the
                   BPS Interest, then the maker of the back-up bid shall close on the
                   purchase of the BPS Interest within twenty (20) days of the order
                   confirming the sale becoming a final, non-appealable order. .

       26.     The Trustee expressly reserves the right to determine whether any bid is a

Qualified Bid and whether any Qualified Bid is the successful bid or back-up bid. The Trustee

expressly reserves the right to seek all available damages from the maker of the successful bid or

the back-up bid if such bidder wrongfully fails to consummate the purchase of the BPS Interest

pursuant to these Bidding and Auction Procedures.

       27.     Although the Trustee is unaware of any liens encumbering the BPS Interest, the

Trustee proposes to transfer the BPS Interest free and clear of all liens, with any liens

transferring to the sale proceeds, pursuant to § 363(f) of the Code.

                             G.      PROPOSED NOTICE PROCEDURE

       28.     Upon entry of an order approving this Motion, the Trustee proposes to serve

notice of the Bidding and Auction Procedures in the form appearing as Exhibit B, attached hereto

and incorporated herein by reference (the “Auction Notice”), as follows:

               (a)   upon the Bankruptcy Administrator and those parties requesting
                     notice via ECF pursuant to Rule 2002 of the Federal Rules of
                     Bankruptcy Procedure (the “Bankruptcy Rules”) via ECF;



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                (b)   upon on any party-in-interest for whom the Trustee has a valid
                      electronic mail address by electronic mail only;

                (c)   by posting on the Siskey-Related Bankruptcy Case Webpage,
                      https://tsiholdings.wordpress.com/.

        29.     In addition to the foregoing, the Trustee is serving a copy of this Motion on BP3,

the other holder of a membership interest in BPS.

                                  III.    RELIEF REQUESTED

        30.     Through this Motion, the Trustee seeks entry of an order by the Court:

(a) approving the Stalking Horse Bid; (b) approving the Bidding and Auction Procedures;

(c) approving the form and manner of the Auction Notice; (d) authorizing the Trustee to engage

in any and all conduct necessary or appropriate to carry out the Bidding and Auction Procedures;

(e) declaring that the Trustee has the authority under the Operating Agreement to transfer SRP’s

economic interest in BPS; and (f) scheduling the Auction and sale confirmation hearing at some

date and time convenient for the Court no later than sixty (60) days following entry of an order

granting this Motion, whereby the Court will consider whether to authorize the sale of the BPS

Interest free and clear of all liens, with any liens transferring to the proceeds of the sale.

                           IV.     BASIS FOR RELIEF REQUESTED

        31.     Section 363 of the Code provides that a trustee, “after notice and a hearing, may

use, sell, or lease, other than in the ordinary course of business, property of the estate.” 11

U.S.C. § 363(b)(1). Bankruptcy Rule 2002 requires twenty-one (21) days’ notice for a motion to

sell property other than in the ordinary course of business and that such a notice “include the

time and place of any public sale, the terms and conditions of any private sale and the time fixed

for filing objections.” FED. R. BANKR. P. 2002(a)(2) & (c)(1).




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         32.   Bankruptcy Rule 6004(f)(1) authorizes sales of property of the bankruptcy estate

outside of the ordinary course of business to be by private sale or by public auction. FED. R.

BANKR. P. 6004(f)(1).

         33.   Courts uniformly recognize that procedures intended to enhance competitive

bidding are consistent with the goal of maximizing the value received by the estate and therefore

are appropriate in the context of bankruptcy sales. See, e.g., In re Financial News Network,

Inc., 126 B.R. 152, 156 (S.D.N.Y. 1991) (recognizing that “considerable authority” exists in

favor of invoking “court-imposed rules for the disposition of assets . . . to provide an adequate

basis for comparison of offers, and to provide for a fair and efficient resolution of bankrupt

estates”).

         34.   With respect to break-up fees, courts typically hold that paying such fees will be

appropriate when doing so is “actually necessary to preserve the value of the estate,” including

when the “break-up fee promote[s] more competitive bidding, such as by inducing a bid that

otherwise would not have been made and without which bidding would have been limited” or

when the break-up fee “increase[es] the likelihood that the price at which the debtor is sold will

reflect its true worth.” See O’Brien Environmental Energy, Inc., 181 F.3d 527, 535–37 (3d Cir.

1999).

                                     V.      ARGUMENT

         35.   In the opinion of the Trustee, the terms appearing in the Stalking Horse Bid form

a reasonable basis upon which to construct an efficient process to sell the BPS Interest.

Specifically with respect to the proposed Break-Up Fee, the Trustee believes payment of the

Break-Up Fee, by encouraging the Stalking Horse Bid, secures both (a) a floor for the ultimate




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BPS Interest purchase price and, more importantly, (b) a more competitive bidding process,

including by attracting bids that might not otherwise have been made at all.

        36.     The Trustee has determined that the sale of the BPS Interest pursuant to the

Bidding and Auction Procedures, by public auction, and otherwise in accordance with this

Motion will ensure a fair and reasonable process that is likely to yield the maximum value for the

BPS Interest.

        37.     The Trustee submits that the form and manner of the Auction Notice fully comply

with Bankruptcy Rule 2002 and are otherwise reasonably calculated to provide timely and

adequate notice of the proposed sale of the BPS Interest to the Members and all other parties-in-

interest that are entitled to notice in this case.

        38.     BP3 acknowledges and agrees that, pursuant to the terms of the Operating

Agreement, the Trustee has the full power and authority to transfer SRP’s economic interest in

BPS only, but not any voting rights or any other portion of SRP’s membership interest in BPS.

        WHEREFORE, the Trustee prays that the Court will enter an Order:

        1)      Granting this Motion;

        2)      Approving the Stalking Horse Bid;

        3)      Approving the Bidding and Auction Procedures;

        4)      Approving the form and manner of the Auction Notice;

        5)      Authorizing the Trustee to engage in any and all conduct necessary or appropriate
                to carry out the Bidding and Auction Procedures;

        6)      Declaring that the Trustee has the authority under the Operating Agreement to
                transfer SRP’s economic interest in BPS;

        7)      Scheduling the Auction and sale confirmation hearing at some date and time
                convenient for the Court no later than sixty (60) days following entry of an order
                granting this Motion, whereby the Court will consider whether to authorize the
                sale of the BPS Interest free and clear of all liens, with any liens transferring to
                the proceeds of the sale; and


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    8)     Granting such other relief as is just and proper.

    This is the 23d day of March, 2018.

                                           /s/ Michael L. Martinez
                                          Joseph W. Grier, III (N.C. Bar No 7764)
                                          Michael L. Martinez (N.C. Bar No. 39885)
                                          Grier Furr & Crisp, PA
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                    IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 Charlotte Division

In re:                                                  CASE NO. 17-30132

TSI Holdings, LLC2 et al.,                              CHAPTER 7
                                                        Jointly Administered
                         DEBTORS.

                                          AUCTION NOTICE

         On April __, 2018, the U.S. Bankruptcy Court for the Western District of North Carolina (the
“Court”) granted the Trustee’s Motion for Order (I) Approving Bidding and Auction Procedures in
Connection with the Sale of the Interest of Sharon Road Properties, LLC in Bissell Porter Siskey,
LLC, (II) Approving Agreement with Stalking Horse Bidder, and (III) Scheduling Auction and Sale
Approval Hearing (the “Motion”) and entered an order in the above-captioned jointly-administered
bankruptcy cases approving the Bidding and Auction Procedures proposed by Joseph W. Grier, III,
the duly-appointed chapter 7 trustee (“Trustee”) for Sharon Road Properties, LLC (“SRP”), which
relate to the sale of SRP’s 32.55% interest in Bissell Porter Siskey, LLC (the “BPS Interest”). The
Bidding and Auction Procedures are as follows:

ASSETS TO BE SOLD: The Trustee seeks to sell the interest owned by Sharon Road Properties, LLC
(“SRP”) in Bissell Porter Siskey, LLC (“BPS”). BPS owns a commercial building located at 4521
Sharon Road, Charlotte, North Carolina (the “Office Building”). The Office Building is a 70,839
square foot multi-tenant office building, which generates rents sufficient to cover operating and
maintenance costs and to make distributions to BPS’s members on a regular basis. The Office
Building includes an approximately three-acre parcel of land located across Sharon Road from the
South Park Mall in Charlotte, North Carolina. The Trustee receives monthly reports from BPS
detailing the income and expenses relating to the Office Building.

BID DEADLINE: Any person(s) or entity(ies) wishing to participate in the auction of the BPS Interest
(the “Auction”) shall deliver, on or before May __, 2018 (the “Bid Deadline”), an executed
proposed purchase contract to: MPV Properties, LLC, ATTN: Bailey W. Patrick, 2400 South
Boulevard, Suite 300, Charlotte, NC 28203, BPatrick@mpvre.com.

BID REQUIREMENTS: The Trustee shall retain complete discretion to determine whether a purchase
contract received qualifies to participate in the Auction (a “Qualified Bid”). At a minimum, a
Qualified Bid will have the following characteristics, unless otherwise ordered by the Court.

     (1) A Qualified Bid must be timely submitted on or before the Bid Deadline.

     (2) A Qualified Bid proposes a purchase price that exceeds $1,700,000.00.




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        These jointly administered cases are those of the following debtors: TSI Holdings, LLC (17-30132), WSC
Holdings, LLC (17-30338), SouthPark Partners, LLC (17-30339), and Sharon Road Properties, LLC (17-30363).




                                         EXHIBIT B
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   (3) A Qualified Bid identifies the person(s) or entity(ies) submitting the purchase contract
       (the “Bidder”), including a disclosure of any affiliation or relationship with SRP, Richard
       C. (Rick) Siskey, any insider(s) or creditor(s) of SRP.

   (4) A Qualified Bid provides evidence satisfactory to the Trustee of the Bidder’s financial
       wherewithal to consummate the proposed transaction (if requested by the Trustee, the
       Bidder may be required to make a refundable earnest money deposit with the Trustee in
       order to have a Qualified Bid).

   (5) A Qualified Bid warrants that it is not subject to any additional due diligence, any
       financing contingency(ies), or any further board or similar corporate approval.

   (6) A Qualified Bid provides that it is irrevocable by the Bidder until the later of
       (A) consummation of a sale of the BPS Interest to any other bidder and (B) the first
       business day that is thirty (30) days after the Auction.

   (7) A Qualified Bid commits to closing on the purchase of the BPS Interest within ten (10)
       days of an order confirming the sale becoming a final, non-appealable order.

   (8) A Qualified Bid agrees that the sale of the BPS Interest is “as-is, where-is” with no
       warranties express or implied by the Trustee, other than a warranty that the Trustee
       has done nothing to impair title and will defend title against the lawful claims of all
       persons claiming by, under, or through the Trustee.

   (9) A Qualified Bid represents and warrants to the Trustee that the Bidder (A) has relied
       solely upon the Bidder’s own independent review, investigation, and/or inspection of
       the BPS Interest in making the bid and (B) did not rely upon any written or oral
       statements, representations, promises, warranties, or guarantees whatsoever, whether
       express, implied, by operation of law or otherwise, by the Trustee regarding the
       BPS Interest.

DUE DILIGENCE: All due diligence must be completed by any Bidders on or before the Bid
Deadline, such that all bids at the Auction will be free of all contingencies other than the Court’s
confirmation of the sale free and clear of liens, with any liens transferring to the sale proceeds. The
Trustee shall provide Bidders with any and all documents requested prior to the Bid Deadline that are
in the Trustee’s possession or are readily available to the Trustee. The Trustee may require a Bidder
to execute a confidentiality agreement as a condition to providing documents to the Bidder. The
Trustee shall not be obligated to furnish access to any information of any kind regarding the BPS
Interest after the Bid Deadline.

SELECTION OF QUALIFIED BIDS: After a Bidder submits a bid, the Trustee may, in the Trustee’s
complete discretion, communicate with the Bidder and request any additional information deemed
necessary to evaluate whether the bid should be accepted as a Qualified Bid. The Trustee will send,
at least seven (7) days prior to the Auction, a written Auction invitation to all Bidders submitting
Qualified Bids.

LOCATION OF AUCTION: If any Qualified Bids (other than the “Stalking Horse Bid” (as that term is
defined in the Motion)) are received, then the Trustee (or the Court) shall conduct the Auction in
Bankruptcy Courtroom 1-4 in the United States Courthouse, 401 West Trade Street, Charlotte,
North Carolina.


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DATE OF AUCTION: The Auction and/or sale confirmation hearing will be on June __, 2018.

AUCTION PROCEDURES: The following rules shall govern the Auction.

      (1) Only Bidders submitting Qualified Bids and the Stalking Horse (as that term is defined in
          the Motion) are eligible to participate in the Auction. All Bidders wishing to bid at the
          Auction shall appear at the Auction—either in person or telephonically—through a duly
          authorized representative.

      (2) Prior to the Auction, the Trustee shall select the Qualified Bid that, in the Trustee’s
          complete discretion, reflects the highest or otherwise best value for the BPS Interest as
          the Auction’s opening bid. The Trustee (or the Court) shall then commence the Auction
          by announcing the opening bid.

      (3) Thereafter, Auction participants may submit bids that are higher and better than a prior
          bid in increments of at least $100,000.00 until the Trustee selects a successful bid;
          provided, however, that the Trustee (or the Court) shall retain complete discretion to
          adjust the overbid increments upward or downward during the Auction.

      (4) Subject to the approval of the Court, the Trustee may adjourn the Auction and/or adopt
          supplemental Auction rules or procedures in order to facilitate a more effective Auction.

      (5) The Trustee shall select the successful bid and a back-up bid during the Auction and
          conclude the Auction by announcing the successful bid and a back-up bid to the Court.

      (6) At the Auction’s conclusion, the Court will conduct a confirmation hearing to consider
          whether to approve the sale pursuant to § 363 of the Code.

CONSUMMATION OF SALE: If the Court approves a sale of the BPS Interest based on the successful
bid, then the maker of the successful bid shall close on the purchase of the BPS Interest within ten
(10) days of the order confirming the sale becoming a final, non-appealable order. If the maker of
the successful bid fails to consummate the purchase of the BPS Interest, then the maker of the back-
up bid shall close on the purchase of the BPS Interest within twenty (20) days of the order
confirming the sale becoming a final, non-appealable order.

RESERVATION OF RIGHTS: The Trustee expressly reserves the right to determine whether any bid is
a Qualified Bid and whether any Qualified Bid is the successful bid or back-up bid. The Trustee
expressly reserves the right to seek all available damages from the maker of the successful bid or the
back-up bid if such bidder wrongfully fails to consummate the purchase of the BPS Interest pursuant
to these Bidding and Auction Procedures.

Dated: April __, 2018

By:      Michael L. Martinez
         Grier Furr & Crisp, PA
         101 N. Tryon St., Ste. 1240
         Charlotte, NC 28246
         Phone: 704/332.0209
         Email: mmartinez@grierlaw.com



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                    IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 Charlotte Division

In re:                                                 CASE NO. 17-30132

TSI Holdings, LLC3 et al.,                             CHAPTER 7
                                                       Jointly Administered
                         DEBTORS.

                                       NOTICE OF HEARING

       TAKE NOTICE that on Monday, April 23, 2018, at 9:30 A.M. in Bankruptcy
Courtroom 1-4 in the United States Courthouse, 401 West Trade Street, Charlotte, North
Carolina, this Court will conduct a hearing on the Trustee’s Motion for Order (I) Approving
Bidding and Auction Procedures in Connection with the Sale of the Interest of Sharon Road
Properties, LLC in Bissell Porter Siskey, LLC, (II) Approving Agreement with Stalking Horse
Bidder, and (III) Scheduling Auction and Sale Approval Hearing (the “Motion”).

       The Motion seeks Court approval of a process by which the Trustee may sell the interest
held by Sharon Road Properties, LLC in Bissell Porter Siskey, LLC (the “BPS Interest”). Bissell
Porter Siskey, LLC owns a commercial building located at 4521 Sharon Road, Charlotte, North
Carolina. The BPS Interest represents a 32.55% interest equity interest in Bissell Porter Siskey,
LLC.

       In summary, the Motion proposes that the Trustee will solicit “Qualified Bids” (as
defined in the Motion) for thirty (30) days following entry of an order approving the Motion (the
“Bid Deadline”) and then hold an auction a few weeks thereafter in which anyone submitting a
Qualified Bid might participate. As set forth more fully in the Motion, if no Qualified Bids are
received by the Trustee on or before the Bid Deadline, then the Trustee will seek court
approval to sell the BPS Interest to QuickLiquidity, LLC for $1,600,000.00.

Your rights may be affected. You should read this Notice carefully and discuss it with your
attorney, if you have one in this bankruptcy case. If you do not have an attorney, you may wish
to consult one.

       IF YOU DO NOT WANT THE COURT TO GRANT THE RELIEF REQUESTED IN
THE MOTION OF IF YOU WANT THE COURT TO CONSIDER YOUR VIEWS ON THE
MOTION, THEN YOU OR YOUR ATTORNEY SHOULD ATTEND THIS HEARING AT
9:30 A.M. ON MONDAY, APRIL 23, 2018, IN BANKRUPTCY COURTROOM 1-4 IN THE
UNITED STATES COURTHOUSE, 401 WEST TRADE STREET, CHARLOTTE, NORTH
CAROLINA.

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         These jointly administered cases are those of the following debtors: TSI Holdings, LLC, Case No. 17-
30132, WSC Holdings, LLC Case No. 17-30338, SouthPark Partners, LLC Case No. 17-30339 and Sharon Road
Properties, LLC Case No. 17-30363.
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       If you or your attorney do not take these steps, the Court may decide that you do not
oppose the relief requested in the motion and may enter an order approving the motion.

       This, the 23d day of March, 2018.

                                           /s/ Michael L. Martinez
                                           Michael L. Martinez (N.C. State Bar No. 39885)
                                           Grier Furr & Crisp PA
                                           101 North Tryon Street, Suite 1240
                                           Charlotte, North Carolina 28246
                                           Telephone: 704/375.3720; Fax: 704/332.0215
                                           mmartinez@grierlaw.com

                                           Attorneys for Joseph W. Grier, III, Trustee




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                    IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 Charlotte Division

In re:                                                  CASE NO. 17-30132

TSI Holdings, LLC4 et al.,                              CHAPTER 7
                                                        Jointly Administered
                         DEBTORS.

                                   CERTIFICATE OF SERVICE

       The undersigned hereby certifies that copies of the foregoing Notice of Hearing were
served pursuant to the Order Limiting Service of Process (D.E. 66):

         (i) on all parties requesting notice through the Court’s electronic noticing system
         (including the Bankruptcy Administrator’s office) by electronic service;

         (ii) on each party-in-interest for whom the Trustee has a valid email address by
         email; and

         (iii) by posting on the website being maintained by the Trustee regarding the
         above-captioned, jointly-administered cases, https://tsiholdings.wordpress.com.

        The undersigned further hereby certifies that copies of the foregoing Trustee’s Motion for
Order (I) Approving Bidding and Auction Procedures in Connection with the Sale of the Interest
of Sharon Road Properties, LLC in Bissell Porter Siskey, LLC, (II) Approving Agreement with
Stalking Horse Bidder, and (III) Scheduling Auction and Sale Approval Hearing and Notice of
Hearing were served via email and/or U.S. Mail, postage prepaid, on the following parties as
indicated.

                                 QuickLiquidity, LLC
                                 Attn: A. Yoni Miller
                                 500 NE Spanish River Blvd., #205
                                 Boca Raton, FL 33431
                                 ymiller@quickliquidity.com
                                 Via email and U.S. Mail

                                 David S. Melin
                                 Rayburn Cooper & Durham, P.A.
                                 227 West Trade Street, Suite 1200
                                 Charlotte, NC 28202
                                 dmelin@rcdlaw.net
                                 (Attorneys for Bissell Porter Three, LLC)
                                 Via email and U.S. Mail

4
         These jointly administered cases are those of the following debtors: TSI Holdings, LLC, Case No. 17-
30132, WSC Holdings, LLC Case No. 17-30338, SouthPark Partners, LLC Case No. 17-30339 and Sharon Road
Properties, LLC Case No. 17-30363.
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                         Medalist Capital, Inc.
                         2849 Paces Ferry Road, Suite 280
                         Atlanta, GA 30339
                         Via U.S. Mail

                         Jackson National Life Insurance Company
                         c/o PPM Finance, Inc.
                         225 West Wacker Drive, Suite 1200
                         Chicago, IL 60606
                         Attn: Vice President, Loan Servicing
                         Via U.S. Mail

                         Jackson National Life Insurance Company
                         c/o PPM Finance, Inc.
                         225 West Wacker Drive, Suite 1200
                         Chicago, IL 60606
                         Attn: Vice President, Settlements & Administration
                         Via U.S. Mail

    This, the 23d day of March, 2018.

                                          /s/ Michael L. Martinez
                                          Michael L. Martinez (N.C. State Bar No. 39885)
                                          Grier Furr & Crisp PA
                                          101 North Tryon Street, Suite 1240
                                          Charlotte, North Carolina 28246
                                          Telephone: 704/375.3720; Fax: 704/332.0215
                                          mmartinez@grierlaw.com

                                          Attorneys for Joseph W. Grier, III, Trustee




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